











NO. 07-07-0487-CR
Â&nbsp;
IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

JANUARY 16, 2008
______________________________
Â&nbsp;
ROOSEVELT ALLEN, JR., APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 252ND DISTRICT COURT OF JEFFERSON COUNTY;

NO. 07-00816; HONORABLE LARRY GIST, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
MEMORANDUM OPINION
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellant Roosevelt Allen Jr., acting pro se, filed a document with this court on
December 3, 2007, entitled âPetition for Acquittal and Arrest of Judgment Review.â  Finding
reason to doubt our jurisdiction over the matters addressed in appellantâs âpetition,â we
requested by letter dated December 11 that he file any documents considered necessary
for the court to determine our jurisdiction.


  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;On December 13, 2007, appellant filed a document entitled âAndersâ Brief for
Appellantâ in which he references his petition filed on December 3.


  As we read his
documents, appellant raises issues in connection with his conviction and sentencing in a
district court of Jefferson County.  The documents reference cause number 07-00816 in
the Criminal District Court of Jefferson County, and recite that appellant appealed from the
judgment to the Ninth Court of Appeals in October 2007.   
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;On December 27, 2007, we received appellantâs response to our December 11
letter.  In support of this courtâs jurisdiction, appellant provides a copy of the memorandum
opinion of the Ninth Court of Appeals, issued November 28, 2007, dismissing his appeal 
pursuant to Texas Rule of Appellate Procedure 25.2(d).  He contends the dismissal
demonstrates he has been subjected to abused discretion, and raises a complaint about
the form of the Ninth Courtâs memorandum opinion.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;This courtâs appellate jurisdiction generally is limited to cases appealed from trial
courts in our court of appeals district.  Tex. Govât Code Ann. Â§ 22.201 (Vernon 2004).


  We
see no basis for jurisdiction over appeal of appellantâs Jefferson County conviction, and
nothing in the documents appellant has filed demonstrates we otherwise have authority to
grant any relief he seeks.  See Olivo v. State, 918 S.W.2d 519, 522-23 (Tex.Crim.App.
1996) (listing Government Code Â§ 22.201 among examples of laws that establish
jurisdiction of courts of appeals).  Appellantâs December 3 petition refers to Rule 17.1 of
the Texas Rules of Appellate Procedure, which concerns instances in which a court of
appeals is unable to take immediate action, and Rule 17.2, providing for action by âthe
nearest court of appeals that is able to take immediate action.â  Tex. R. App. P. 17.1, 17.2. 
Appellant appears to contend that the rule has application here.  Based on the statements
in appellantâs petition, we disagree that Rule 17 of the appellate rules has application in the
circumstances described.  In addition, appellant provides no explanation how, given the
great distance between Beaumont and Amarillo, this court could be considered the nearest
available court of appeals.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Finding we lack jurisdiction to address appellantâs pleadings, we dismiss his
attempted appeal.



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eneric-font-family:roman;
	mso-font-pitch:auto;
	mso-font-signature:0 0 0 0 0 0;}
 /* Style Definitions */
 p.MsoNormal, li.MsoNormal, div.MsoNormal
	{mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-parent:"";
	margin:0in;
	margin-bottom:.0001pt;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoHeader, li.MsoHeader, div.MsoHeader
	{mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Header Char";
	margin:0in;
	margin-bottom:.0001pt;
	mso-pagination:widow-orphan;
	tab-stops:center 3.25in right 6.5in;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoFooter, li.MsoFooter, div.MsoFooter
	{mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Footer Char";
	margin:0in;
	margin-bottom:.0001pt;
	mso-pagination:widow-orphan;
	tab-stops:center 3.25in right 6.5in;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoAcetate, li.MsoAcetate, div.MsoAcetate
	{mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Balloon Text Char";
	margin:0in;
	margin-bottom:.0001pt;
	mso-pagination:widow-orphan;
	font-size:8.0pt;
	font-family:"Tahoma","sans-serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoListParagraph, li.MsoListParagraph, div.MsoListParagraph
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoListParagraphCxSpFirst, li.MsoListParagraphCxSpFirst, div.MsoListParagraphCxSpFirst
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoListParagraphCxSpMiddle, li.MsoListParagraphCxSpMiddle, div.MsoListParagraphCxSpMiddle
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.MsoListParagraphCxSpLast, li.MsoListParagraphCxSpLast, div.MsoListParagraphCxSpLast
	{mso-style-priority:34;
	mso-style-unhide:no;
	mso-style-qformat:yes;
	mso-style-type:export-only;
	margin-top:0in;
	margin-right:0in;
	margin-bottom:0in;
	margin-left:.5in;
	margin-bottom:.0001pt;
	mso-add-space:auto;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	font-family:"Times New Roman","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
p.FreeForm, li.FreeForm, div.FreeForm
	{mso-style-name:"Free Form";
	mso-style-unhide:no;
	mso-style-parent:"";
	margin-top:0in;
	margin-right:0in;
	margin-bottom:10.0pt;
	margin-left:0in;
	line-height:115%;
	mso-pagination:widow-orphan;
	font-size:12.0pt;
	mso-bidi-font-size:10.0pt;
	font-family:"Arial","sans-serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	mso-bidi-font-family:"Times New Roman";
	color:black;}
span.BalloonTextChar
	{mso-style-name:"Balloon Text Char";
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:"Balloon Text";
	mso-ansi-font-size:8.0pt;
	mso-bidi-font-size:8.0pt;
	font-family:"Tahoma","sans-serif";
	mso-ascii-font-family:Tahoma;
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	mso-hansi-font-family:Tahoma;
	mso-bidi-font-family:Tahoma;
	color:black;}
span.HeaderChar
	{mso-style-name:"Header Char";
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Header;
	mso-ansi-font-size:12.0pt;
	mso-bidi-font-size:12.0pt;
	font-family:"?????? Pro W3","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
span.FooterChar
	{mso-style-name:"Footer Char";
	mso-style-priority:99;
	mso-style-unhide:no;
	mso-style-locked:yes;
	mso-style-link:Footer;
	mso-ansi-font-size:12.0pt;
	mso-bidi-font-size:12.0pt;
	font-family:"?????? Pro W3","serif";
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	color:black;}
span.SpellE
	{mso-style-name:"";
	mso-spl-e:yes;}
span.GramE
	{mso-style-name:"";
	mso-gram-e:yes;}
.MsoChpDefault
	{mso-style-type:export-only;
	mso-default-props:yes;
	font-size:10.0pt;
	mso-ansi-font-size:10.0pt;
	mso-bidi-font-size:10.0pt;}
 /* Page Definitions */
 @page
	{mso-page-border-surround-header:no;
	mso-page-border-surround-footer:no;
	mso-footnote-separator:url("07-10-0226\,227.cr%20opinion_files/header.htm") fs;
	mso-footnote-continuation-separator:url("07-10-0226\,227.cr%20opinion_files/header.htm") fcs;
	mso-endnote-separator:url("07-10-0226\,227.cr%20opinion_files/header.htm") es;
	mso-endnote-continuation-separator:url("07-10-0226\,227.cr%20opinion_files/header.htm") ecs;}
@page WordSection1
	{size:8.5in 11.0in;
	margin:1.0in 1.0in 1.0in 1.0in;
	mso-header-margin:.5in;
	mso-footer-margin:.5in;
	mso-title-page:yes;
	mso-footer:url("07-10-0226\,227.cr%20opinion_files/header.htm") f1;
	mso-paper-source:0;}
div.WordSection1
	{page:WordSection1;}
 /* List Definitions */
 @list l0
	{mso-list-id:538514968;
	mso-list-type:hybrid;
	mso-list-template-ids:-1568631658 -271931558 67698691 67698693 67698689 67698691 67698693 67698689 67698691 67698693;}
@list l0:level1
	{mso-level-start-at:0;
	mso-level-number-format:bullet;
	mso-level-text:\F0B7;
	mso-level-tab-stop:none;
	mso-level-number-position:left;
	margin-left:.75in;
	text-indent:-.25in;
	font-family:Symbol;
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	mso-bidi-font-family:"Times New Roman";}
@list l1
	{mso-list-id:832524985;
	mso-list-type:hybrid;
	mso-list-template-ids:-1881236760 1379052780 67698691 67698693 67698689 67698691 67698693 67698689 67698691 67698693;}
@list l1:level1
	{mso-level-start-at:0;
	mso-level-number-format:bullet;
	mso-level-text:\F0B7;
	mso-level-tab-stop:none;
	mso-level-number-position:left;
	text-indent:-.25in;
	font-family:Symbol;
	mso-fareast-font-family:"\30D2\30E9\30AE\30CE\89D2\30B4 Pro W3";
	mso-bidi-font-family:"Times New Roman";}
ol
	{margin-bottom:0in;}
ul
	{margin-bottom:0in;}
--&gt;








NO.
&nbsp;07-10-0226-CR

NO. 07-10-0227-CR

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Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Appellee

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; _______________________________

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; FROM THE 364TH DISTRICT
COURT OF LUBBOCK COUNTY;

Â&nbsp;

 NOS. 2008-419,678 &amp; 2008-419,679; HON.
BRADLEY S. UNDERWOOD, PRESIDING

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; ______________________________

Â&nbsp;

Memorandum
Opinion

______________________________

Â&nbsp;

Before
QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Appellant Isaac Jones, Jr. appeals
his conviction for four counts of aggravated sexual assault of a child.Â&nbsp; Through three issues, he contends the State
provided improper notice of its intent to use a prior conviction for
enhancement purposes, and the evidence is insufficient to support an award of
attorneyÂs fees.Â&nbsp; We modify the judgment in
trial court cause number 2008-419,678 and affirm as modified, and affirm the
judgment in trial court cause number 2008-419,679. 

Issue
One Â Notice of Enhancement

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In his first issue, appellant
contends that proper notice of enhancement of his punishment was not provided
in cause number 2008-419,679, even though notice was filed in cause number
2008-419,678 and contained both cause numbers.Â&nbsp;
Therefore, according to appellant, he is entitled to a new punishment
hearing in cause number 2008-419,679.Â&nbsp; We
overrule the issue.

If the State intends to enhance a defendant's punishment
through prior convictions, it must give the defendant reasonable notice of that
intent by some kind of pleading.Â&nbsp; Brooks v. State,
957 S.W.2d 30, 33 (Tex. Crim. App.1997); Cochran
v. State, 107 S.W.3d 96, 98 (Tex. App.ÂTexarkana 2003, no pet.).Â&nbsp; Yet, there is no statutory requirement that
the notice of enhancement be given at any specific time before trial.Â&nbsp; Furthermore, the Court of Criminal Appeals in
Villescas v. State,
189 S.W.3d 290 (Tex. Crim. App. 2006) stated that Âdue process does not even
require that the notice be given before the guilt phase begins, much less that
it be given a number [of] days before trial.ÂÂ&nbsp;
Id.
at 294.Â&nbsp; It then held that if
Âa defendant has no defense to the enhancement allegation and has not suggested
the need for a continuance in order to prepare one,
notice given at the beginning of the punishment phase satisfies the federal
constitution.ÂÂ&nbsp; Id. at 294; see Callison v. State,
218 S.W.3d 822, 823-25 (Tex. App.ÂBeaumont
2007, no pet.).

In the case before us and prior to the commencement of the
punishment hearing, the following exchange occurred:

MR.
STANGL [defense counsel]:Â&nbsp; Judge, the
State, previous to my appointment on the case, had filed a Notice of Intent to
Use a Prior Conviction to Enhance the Classification and/or Range of Punishment
in the Indicted Offense.Â&nbsp; And it appears
that that was filed of record in 2008-419,678.Â&nbsp;
I believe the Court had indicated the other day that you had gone
through the - - one of the files and couldnÂt find one, and I think you found
it in the other one.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; You know, basically, Judge, I know
that the copies that I pulled off Â&nbsp;the
Internet has both numbers written up top, but apparently was filed of record in
the highlighted case, which was 2008-419,678, and does not appear to have been
filed of record in 2008-419,679.Â&nbsp; 

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; So, therefore, Your Honor, we would
just submit to the Court that this prior - - this allegation of a prior
conviction would not be available for enhancement pursuant to 2008 - - or in
the case number 2008-419,679, because proper notice was never filed.

Â&nbsp;

*Â&nbsp;Â&nbsp;Â&nbsp; *Â&nbsp;Â&nbsp;Â&nbsp; *

MS.
CROWLEY [StateÂs attorney]: Your Honor, this is a notice provision, as the
Court can see from the notice that was filed.Â&nbsp;
The District ClerkÂs office requires us to highlight the appropriate
cause number.Â&nbsp; And so what appears to be
blacked out is the highlighted mark on one of the cause numbers.Â&nbsp; Both would have been filed.Â&nbsp; Why the other one is not in the other file is
something we need to take up with the district clerk.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Both - - I mean itÂs obviously both
cause numbers are on the motion.Â&nbsp; The
highlighted one got into the right file.Â&nbsp;
The other highlighted one would have gotten into the other file, but
theyÂre filed.Â&nbsp; You know, we do it the
way the District ClerkÂs office wants us to.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Counsel for the defense had adequate
notice.Â&nbsp; Both cause numbers were
listed.Â&nbsp; Even though one was highlighted,
both cause numbers were listed on the StateÂs Notice of Intent to Use the Prior
Conviction.Â&nbsp; And the StateÂs position is
itÂs more than adequate to give that notice regardless of whether the clerkÂs
office managed to get it in to the file or not, but that it was done, and both
cause numbers are on it.

Â&nbsp;

THE COURT:Â&nbsp; Are you
claiming surprise, Mr. Stangl?

MR. STANGL:Â&nbsp; IÂm
claiming lack of required notice, Judge.

THE COURT:Â&nbsp; Are you
refusing to answer my question, Mr. Stangl?

MR.
STANGL:Â&nbsp; No, Your Honor, IÂm not claiming
surprise.Â&nbsp; I am - - however, I am
claiming lack of adequate notice.

Â&nbsp;

The
trial court then observed that:

[t]he
original in the CourtÂs file in Cause No. 2008-419,678 is, in fact, highlighted
in yellow, but it does bear both cause numbers.Â&nbsp;
There appears to have been some clerical issue with getting the document
with the Cause No. 2008-419,679 into the file in 2008-419,679.Â&nbsp; But clearly, Mr. Stangl,
youÂve had notice technically or otherwise in Cause Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; No. 2008-419,678 that the State intended to enhance the
range of punishment in that case, correct?

Â&nbsp;

In
response to the trial courtÂs inquiry, the following transpired:

Â&nbsp;

MR.
STANGL:Â&nbsp; Judge, I mean I will acknowledge
that the file marked copy that I pulled off the computer bears both cause
numbers.Â&nbsp; I will acknowledge that.

Â&nbsp;

THE COURT:Â&nbsp; Okay.

MR.
STANGL:Â&nbsp; My objection is merely that the
required notice in the other

case was not filed of record as
required.Â&nbsp; I donÂt know if it was a
clerical error or if it was ever given to the District Clerk.Â&nbsp; I have no idea.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; THE COURT:Â&nbsp;
Okay.

MR.
STANGL:Â&nbsp; So therein lies
my objection I wasnÂt given proper notice. Â&nbsp;IÂm not going to say that - - 

Â&nbsp;

THE COURT:Â&nbsp; I
understand.Â&nbsp; I understand.Â&nbsp; The objection is overruled.

From the foregoing we observe that
appellant knew of the StateÂs intent to enhance punishment in both causes long
before trial began.Â&nbsp; And, even if the
notice in cause number 2008-419,679 was considered not to have been filed prior
to trial, appellant nonetheless received notice before the punishment phase
began.Â&nbsp; At no time did he allege surprise
or that he had a defense to the use of the prior conviction.Â&nbsp; Nor did he request a continuance.Â&nbsp; Therefore, the trial court did not err in
overruling his objection at trial. 

Issues Two and Three Â
AttorneyÂs Fees

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In his second and third issues,
appellant contends the evidence is insufficient to support an award of
attorneyÂs fees and the amount of attorneyÂs fees in cause number
2008-419,678.Â&nbsp; The State concedes this to
be error and agrees the award of attorneyÂs fees should be vacated.Â&nbsp; We agree, sustain the issues and remove
reference to the award of attorneyÂs fees from the judgment in trial court
cause number 2008-419,678.Â&nbsp; See Mayer v. State,
274 S.W.3d 898, 902 (Tex. App.ÂAmarillo
2008), affÂd,
309 S.W.3d 552 (Tex. Crim. App. 2010) (modified the judgment to delete like
order).

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Accordingly, the trial courtÂs
judgment in cause number 2008-419,679 is affirmed and the judgment in cause
number 2008-419,678 is affirmed as modified.

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Per Curiam

Do not publish.





